Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 1 of 39




                         U.S. Department of the Interior
                  Outer Continental Shelf Safety Oversight Board

                  Report to Secretary of the Interior Ken Salazar
                                September 1, 2010




   Wilma A. Lewis, Assistant Secretary for Land and Minerals Management, Chair
                    Mary L. Kendall, Acting Inspector General
       Rhea S. Suh, Assistant Secretary for Policy, Management and Budget
       Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 2 of 39




                                                          Table of Contents


I.      Introduction ............................................................................................................................ 1
II.     Permitting: Resources and Protocol for Permit Review ........................................................ 6
III.    Inspections ............................................................................................................................. 8
        A. Program Structure and Effectiveness ............................................................................... 8
        B. Training and Professional Development ........................................................................ 11
        C. Personnel and Resources ................................................................................................ 13
        D. Management Support ..................................................................................................... 15
IV. Enforcement: Financial Penalties and Incentives for Safety Compliance ........................... 17
V.      Environment: Environmental and Cultural Resources Protection ...................................... 20
VI. Post-Accident Investigations ............................................................................................... 22
VII. Environmental Stewardship ................................................................................................. 25
        A. Regulatory Framework .................................................................................................. 25
        B. OSRP Review................................................................................................................. 27
        C. OSRP Content ................................................................................................................ 28
APPENDIX: SUMMARY OF RECOMMENDATIONS ............................................................ 29
ACRONYMS ................................................................................................................................ 36




                                                                        i
     Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 3 of 39




I.       Introduction

A.       Background

The Deepwater Horizon tragedy of April 20, 2010, took 11 lives, caused the destruction and
sinking of an offshore drilling rig, led to the release of approximately 4.9 million barrels of oil,
and significantly disrupted the Gulf of Mexico region’s economy and environment. Recognizing
that oil and gas remain an important part of the Nation’s energy economy, the government has
begun to change laws, regulations, and organizational structures in an effort to prevent such
catastrophic occurrences in the future.

The accident and ensuing spill challenged 40 years of generally accepted belief that offshore
operations could occur safely under existing regulation and oversight. In the new context for
offshore development that became evident even in the earliest days after the rig explosion and
sinking, Interior Secretary Ken Salazar ordered an immediate review of Federal offshore oil and
gas programs. Among the many actions taken by Secretary Salazar in the aftermath of the
accident was the creation on April 30, 2010, of an Outer Continental Shelf (OCS) Safety
Oversight Board (Board), consisting of Wilma A. Lewis, Assistant Secretary for Land and
Minerals Management (ASLM), Chair; Mary L. Kendall, Interior Department Acting Inspector
General; and Rhea S. Suh, Assistant Secretary for Policy, Management and Budget (ASPMB).1

In addition to other duties, the Secretary charged the Board with providing recommendations to
improve and strengthen the Department’s overall management, regulation, and oversight of OCS
operations, including undertaking further audits or reviews, and reviewing existing authorities
and procedures. This document responds to the Secretary’s request for a report from the Board.

B.       Context of the Report

This report is one of numerous government-initiated actions and activities intended to enhance
safety in the aftermath of the Deepwater Horizon accident, including the following:

         On May 14, 2010, Council on Environmental Quality (CEQ) Chair Nancy Sutley and
         Secretary Salazar announced a review of the former Minerals Management Services’
         (MMS) National Environmental Policy Act (NEPA) policies, practices and procedures.
         The CEQ report was issued on August 16, 2010.2
         On May 19, 2010, Secretary Salazar ordered the longer-term reorganization of the former
         MMS into two new bureaus (the Bureau of Ocean Energy Management and the Bureau of
         Safety and Environmental Enforcement) under the ASLM. MMS’s revenue management
         functions will be transferred to a new Office of Natural Resources Revenue, to be housed
         in the Office of the ASPMB.3 An initial report on the planned implementation of the


1
  Secretarial Order No. 3298 (April 30, 2010).
2
  ―Report Regarding the Minerals Management Service’s National Environmental Policy Act Policies, Practices, and
Procedures as They Relate to Outer Continental Shelf Oil and Gas Exploration and Development‖ (August 16, 2010).
3
  Secretarial Order No. 3299 (May 19, 2010).

                                                          1
    Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 4 of 39




         reorganization was submitted to the Secretary on July 14, 2010.4 Implementation steps
         are ongoing.
         On May 21, 2010, President Obama created the National Commission on the BP
         Deepwater Horizon Oil Spill and Offshore Drilling. This Commission has begun its
         work and will develop findings and recommendations.
         On May 27, 2010, Secretary Salazar submitted a report to the President on immediate,
         short-term and long-term safety measures.5 The recommendations in that report are
         being implemented.
         On June 18, 2010, Secretary Salazar abolished MMS and transferred its functions to the
         new Bureau of Ocean Energy Management, Regulation and Enforcement (BOEMRE).6
         On July 12, 2010, Secretary Salazar ordered a suspension of deepwater drilling while
         immediate safety concerns are addressed.7 The BOEMRE Director is conducting public
         meetings to gather information as a precursor to preparing a report with recommendations
         on deepwater drilling.
         A joint United States Coast Guard (USCG)/BOEMRE Marine Board investigation of the
         root causes of the Deepwater Horizon accident is underway.
         Secretary Salazar has commissioned an independent study by the National Academy of
         Engineering to analyze root causes of the Deepwater Horizon accident and provide
         recommendations.
         Secretary Salazar requested that the Office of Inspector General (OIG) investigate any
         deficiencies in MMS policies and practices that may have contributed to the Deepwater
         Horizon accident.
         Congress is considering legislating new measures for offshore oil and gas development,
         including some of the reforms referenced in this report.

Some of the issues examined in this report are similar to issues identified in the context of both
the BOEMRE reorganization and other initiatives aimed at enhancing the safety of OCS
operations in response to the Deepwater Horizon accident. A combination of regulatory,
structural, and statutory solutions to some of these issues is now being explored or is already
moving forward.

Prior to the Deepwater Horizon explosion on April 20, 2010, the Department of the Interior had
initiated several reforms involving the management of offshore energy resources. These new
measures included: reforms to the former MMS’s ethics program; termination of the Royalty in
Kind program; a new approach to OCS management emphasizing scientifically grounded and
environmentally sound development of oil and gas resources, together with a strategy that calls
for analyzing the possible development of new areas offshore, exploring frontier areas, and
protecting places that are not appropriate for drilling; development and implementation of
renewable energy programs; and a review of oil and gas royalty rates. These reform measures
and those initiated in the aftermath of the Deepwater Horizon accident are part of the
Department’s ongoing reform agenda.

4
  ―Implementation Report - Reorganization of the Minerals Management Service‖ (July 14, 2010).
5
  ―Increased Safety Measures for Energy Development on the Outer Continental Shelf‖ (May 27, 2010).
6
  Secretarial Order No. 3302 (June 18, 2010).
7
  The Secretary’s decision memorandum on the offshore drilling suspension is available at
http://www.doi.gov/deepwaterhorizon/loader.cfm?csModule=security/getfile&PageID=38375.

                                                         2
     Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 5 of 39




Offshore oil and gas development constitutes approximately 30% of domestically produced oil
and 11% of the domestic natural gas supply. The vast majority of this production occurs in the
Central and Western Gulf of Mexico (GOM). In achieving such levels of production, the GOM
offshore oil and gas industry has, in recent decades, reached farther offshore and deeper
undersea. Many of the facilities are larger, more complex, more technologically sophisticated,
and more distant than ever before. Simultaneously, government oversight of the prolific energy
resources of the GOM has become more complex and challenging. In view of the many lessons
that can and should be learned from the Deepwater Horizon accident, BOEMRE has the
opportunity to make systemic changes that will help create a better and more effective regulatory
and oversight program.

C.       Development of the Report

Secretary Salazar charged the Board with providing recommendations to improve and strengthen
the Department’s overall management, regulation, and oversight of OCS operations. The
Secretary also separately asked the OIG to determine, among other things, whether there are
deficiencies in BOEMRE policies and practices that should be addressed in order to ensure that
operations on the OCS are conducted in a safe manner, and protective of human life, health, and
the environment.

Since these requests by the Secretary were similar in nature, the OIG agreed to lead a Joint Team
of OIG and ASLM Energy Reform Team members in collecting and analyzing information and
providing the Board with proposed recommendations. As an initial step, the Board identified
broad topics that it determined to be relevant to the regulation of offshore operations by
BOEMRE – specifically Permitting, Inspections, Enforcement, Environment, Post-Accident
Investigations, and Safety.8 The Board also provided the Joint Team with a series of questions
related to each of the identified subject areas that served as a catalyst for the review.

The Joint Team conducted a review to address the six topic areas. The Joint Team’s field work
included interviews of over 140 BOEMRE employees; two online surveys sent to nearly 400
BOEMRE employees;9 review of over 2,000 documents, including statutes, regulations, policies,
procedures, and guidance; and detailed analysis and synthesis of the information developed from
this work. The Joint Team also drafted issue papers with proposed recommendations to advance
the most pressing and pertinent issues that it developed in the course of nine weeks, ending July
30, 2010.

Collaterally, at the request of the Board, staff of the Office of Policy Analysis (PPA), within the
Office of the ASPMB, gathered information and conducted research that compared the
inspection, enforcement and post-accident review programs of regulatory systems among a
variety of federal agencies of the United States government (the Nuclear Regulatory
Commission, Federal Aviation Administration, Mine Safety and Health Administration, and
Occupational Safety and Health Administration) as well as the oil and gas management regime

8
  The issues reviewed under ―Safety‖ are addressed in the Environmental Stewardship section of this report.
9
  Surveys were sent to 199 personnel involved in the inspections, enforcement, post-accident, and investigations processes,
126 of whom responded (63%). Separately, a different survey was sent to 193 personnel involved in the conduct,
oversight, and support of environmental review and compliance activities, as well as leasing staff who reported to the same
regional supervisors; 108 responded (53%).

                                                            3
     Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 6 of 39




of the United Kingdom, which oversees development of offshore oil and gas resources in the
North Sea. The result was a comparative analysis of these regulatory models for the Board’s
consideration.

The Board engaged in a detailed review of the PPA and Joint Team work products, in
consultation with the PPA Team, the Joint Team, ASLM senior staff, BOEMRE senior staff, and
two consulting subject-matter experts who had been senior officials of the former MMS. As a
result of this combined effort, a draft report was prepared. The draft was provided to senior
officials within the Department, including the BOEMRE Director, for any comments. Following
a review and discussion of the comments received, the Board finalized its report, which is
presented in this document.

This report contains the results of a programmatic review of select BOEMRE functions. The
resulting recommendations address both short-term and long-term efforts that BOEMRE should
consider as it continues with its reforms. This report is intended to compliment, not duplicate,
other reviews and work products, particularly the Secretary’s May 27 Report to the President.
Thus, although there is some overlap among issues discussed in this report and in other contexts,
the Board seeks through this report to add value to the reform agenda by focusing on certain
areas that are not the primary focus of other efforts.

The OIG will continue its analysis of the information collected during this effort and will issue a
supplemental report containing additional supporting information and analysis. The OIG may
also continue to pursue a number of issue areas it has determined worthy of additional review.

D.     Analysis and Recommendations

Overall, the Joint Team found the BOEMRE employees it interviewed to be a dedicated,
enthusiastic cadre of professionals who want nothing more than to do their jobs effectively and
efficiently and to see their Bureau reorganize into a robust, high-performing and respected
organization. However, BOEMRE employees also provided ample information about the
weaknesses of the program and operations, and how they might be addressed. This report
contains many of their observations, and the Board’s recommendations that emanated from those
observations.

In the following pages the Board presents a suite of issues and recommendations (restated in the
Appendix). By their nature, and consistent with the Board’s mandate, the report is focused on
change and improvement. In the aggregate, the findings and recommendations can be
considered by BOEMRE management and staff as a framework for improvement that would
create more accountability, efficiency, and effectiveness in a bureau charged with significant
responsibilities.

Some of the recommendations in this report and the actions identified to address them are reliant
on an infusion of funding and staffing. Those needs will be addressed by the Department and the
Administration through a FY 2011 budget amendment, realignment of resources in the existing
budget, and the annual budget process.



                                                 4
   Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 7 of 39




The recommendations range from improved consistency and communication of BOEMRE’s
operational policies to technology improvements and day-to-day management in the field.
Inspections and enforcement—from personnel training to the deterrent effect of fines and civil
penalties—also need attention. In addition, BOEMRE must be diligent to achieve the
stewardship balance between development and environmental responsibilities envisioned in its
statutes.

One of the major cross-cutting themes of the Board’s recommendations is providing more
support for BOEMRE personnel, in the form of training and education, management
commitment, and professional growth and development. BOEMRE responsibilities have
expanded in scope and complexity to such an extent that BOEMRE must increase and develop
its staff to meet new challenges.

Above all, through each of the topics addressed in this report runs a single theme: BOEMRE
must pursue, and industry must engage in, a new culture of safety in which protecting human life
and preventing environmental disasters are the highest priority, with the goal of making leasing
and production safer and more sustainable. The purpose of a broad safety culture program is to
create and maintain industry, worker, and regulator awareness of, and commitment to, measures
that will achieve human safety and environmental protection, and to make sure that where
industry fails, BOEMRE will respond with strong enforcement authorities.

Forging a new safety culture cannot be achieved by government alone. The Board recognizes
that the federal agency for offshore management must carry the flag for safety culture, through
its own actions, through its rules and enforcement, and through its establishment of priorities.
However, the Board believes that industry, as the lead player in offshore oil and gas
development, has a pivotal role to play as well. Indeed, industry must make a widespread,
forceful and long-term commitment to cultivating a serious approach to safety that sets the
highest safety standards and consistently meets them. Ultimately, for a new and robust safety
culture to take root, industry must not only follow rules, it must assume a meaningful leadership
role.




                                                5
      Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 8 of 39




II.     Permitting: Resources and Protocol for Permit Review

Issue

Gulf of Mexico (GOM) district offices are challenged by the volume and complexity of permit
applications and the lack of a standardized engineering review protocol. In addition, the Pacific
Region’s permitting staff is facing significant succession issues.

Background

The volume of production activity in the GOM has increased significantly in the last several
years. However, the workforce associated with regulating the day-to-day activities of the oil and
gas industry (particularly the review of Applications for Permits to Modify (APMs)) has not
increased proportionally to the work demands. In addition, the sheer volume of requests creates
a high pressure work environment that can lead to challenges in balancing the need to conduct an
adequate analysis for each modification decision or permit with the need to be responsive to
requests from industry. Further, there are succession issues in the Pacific Region that may also
apply to BOEMRE’s other regions.

The oil and gas industry works around the clock. After regular work hours, GOM District office
staff maintain their coverage by requiring an engineer to be available on-call. The New Orleans
District office, for example, receives approximately 15 to 20 after-hour calls per week. The on-
call responsibility is rotated among the various senior engineers (GS-13) at each district office.
On-call engineers are provided with office-issued cell phones and government laptops, but they
are not allowed to access the permit database from off-site locations.

Analysis/Discussion

        With increasing workloads, GOM district offices do not have a sufficient number of
        engineers to efficiently and effectively conduct permit reviews. For example, APMs
        have increased by 71% from 1,246 in 2005 to 2,136 in 2009 in the New Orleans District.
        In the Pacific Region, staffing will be an issue because 8 of the 10 current permitting
        employees will be eligible for retirement within the next 2 ½ years.
        GOM district offices do not have a standard practice to address operators who ―shop
        around‖ for regulatory approval for their oil and gas operations and who contact district
        offices outside the appropriate jurisdictional area. Engineers stated that some operators
        call various district offices to find an engineer who will eventually give approval. For
        example, during the current drilling suspension, an operator contacted one district office
        for a special drilling departure, but was told to wait. The operator then contacted another
        district office and received approval. The operator was eventually told not to drill, but
        this example illustrates the lack of coordination and standardization among the district
        offices.
        GOM on-call engineers are handicapped because they are not allowed to access the
        permit database from off-site due to security concerns. This permit database provides the


                                                 6
   Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 9 of 39




       application forms and background data on operational activities in the GOM that assist
       engineers in making informed permit decisions.

Recommendations

   1. Review permit staffing needs in the GOM district and regional offices to ensure that
      staffing levels are commensurate with increasing workloads.
   2. Develop a succession plan for BOEMRE staff in all regions.
   3. Develop a comprehensive and current handbook to compile and standardize policies and
      practices designed to assist permit reviewers in carrying out their responsibilities.
   4. Review and revise the permit review protocols to ensure that: (a) permit requests from
      operators and district responses are documented promptly and properly; (b) BOEMRE
      engineers have appropriate access to permit databases after hours; and (c) procedures are
      established that prevent ―engineer shopping‖ by operators.
   5. Reexamine after-hours permit review services; the means by which any such services
      should be provided (e.g., on-call or in-office staffing); and the feasibility of limiting its
      use by requiring operators to submit non-emergency requests and requests that could be
      reasonably anticipated during normal business hours.

Note: Recommendations that address deficiencies in the permitting regulations are discussed in
the ―Environmental Stewardship: Regulatory Framework‖ section.




                                                 7
     Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 10 of 39




III.    Inspections: Program Structure, Training, Personnel and Resources, Management
        Support

Issue

Inspectors are an important line of defense for promoting safety and environmental protection in
offshore oil and gas development. Currently, however, certain challenges affect the overall
effectiveness of the inspection program. Specifically, inspectors (a) are part of a program
structure that is ineffective in facilitating the elevation of issues or concerns up the management
chain; (b) begin and continue their jobs with no standardized training, testing, or certification; (c)
operate with minimal resources; and (d) sometimes operate without strong management support.

A.      Inspections: Program Structure and Effectiveness

Background

Inspectors work out of district offices in the three agency regions (the GOM Region, the Pacific
Region, and the Alaska Region), with most of the inspectors in the Gulf. Every GOM district
office has a Lead Inspector and Supervisory Inspector. The program structure through which
concerns or issues encountered in a district office can be elevated to the regional offices, or up
the management chain to the headquarters office for review and resolution, is not effective. For
example, if an Incident of Noncompliance (INC) is rescinded by the district manager and the
inspector disagrees with that decision, there is no viable avenue available for inspectors to raise
their concerns. There appear to be few established channels of communication among inspectors
to share professional and technical information and concerns, vet common issues and develop
solutions, and make recommendations to management. Inspectors have little opportunity to
work with other program specialists on a routine basis, even when they share common concerns.
As a result, policies and enforcement mechanisms vary among the GOM districts and the
regions, and there is no formal process to promote standardization, consistency, and operational
efficiency.

The Pacific Region has a more structured program than the GOM, with consolidated policies and
practices for the inspectors. The Pacific Region’s ―Offshore Inspection Program Policies and
Procedures Document,‖ dated February 2010, provides the framework for the Region’s program.

Analysis/Discussion

        BOEMRE does not have a formal, bureau-wide compilation of rules, regulations,
        policies, or practices pertinent to inspections, nor does it have a comprehensive handbook
        addressing inspector roles and responsibilities. For example, although the informally
        acknowledged policy of GOM is to inspect drill rigs once a month, none of those
        interviewed could provide a written directive to support this policy.
        Inspectors meet once every two years and consider these meetings valuable forums for
        sharing information and assessing program needs. Yet, during interviews, inspectors in
        some districts expressed the need for more regular local office meetings to discuss

                                                  8
Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 11 of 39




   current work-related issues, such as new management directives and technical issues. In
   addition, a number of inspectors expressed the desire to work with other districts to learn
   how they operate.
   Several inspectors reported that a lack of adequate advance planning leads to inefficient
   scheduling of personnel and resources. For example, inspectors may travel to one facility
   more often than needed due to helicopter schedules because it is difficult to coordinate air
   transportation to a deepwater facility when traveling with others who are inspecting
   facilities closer to shore.
   Ninety percent of inspectors responding to the survey identified a critical need for more
   unannounced inspections. However, unannounced inspections are rarely performed. In
   the GOM, such inspections are limited by United States Coast Guard (USCG) security
   restrictions on facilities that are required to maintain a Maritime Security plan (MARSEC
   facilities). District offices are required to give 24 hours notice prior to conducting an
   inspection on these facilities. A 2007 GOM directive also states that a 20-minute
   followed by a 5-minute notification should be given to all other facilities. A 2005 GOM
   directive required only a 5-minute notification. The definition of what constitutes an
   unannounced inspection and the conditions under which it could be conducted also varied
   from office to office. For example, one district office indicated that inspectors could land
   on some platforms without any notification, while another district office stated that a 20-
   minute advance notice would be given. Others interviewed stated that the requirements
   for helicopter pilots to call ahead before landing precluded unannounced inspections.
   Finally, documents, including the 2007 GOM directive, indicate the existence of special
   notification arrangements between BOEMRE and certain companies.
   BOEMRE inspectors are not required to witness operations, although they will do so
   when operations are in progress during an inspection. Several inspectors reported that
   operators would close down work in certain areas when the inspectors were on the
   facility.
   In 2009, 41% of inspections were conducted by single inspectors. Most inspectors
   interviewed said that two-person teams would increase efficiencies, eliminate reliance on
   an operator representative for observations on safety tests, improve the thoroughness of
   the inspection, and reduce the ability of operators to successfully pressure an inspector
   not to issue an INC.
   A comparative analysis of regulatory agencies revealed that both the Nuclear Regulatory
   Commission (NRC) and the Mine Safety and Health Administration (MSHA) rotate
   inspectors among facilities to help maintain their independence.




                                            9
  Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 12 of 39




Recommendations

  1. Develop an inspection program with strong representation at all levels of the agency.
     The program should facilitate good intra-agency communication in order to promote
     consistency, effectiveness, and efficiency and provide strong support to the front-line
     inspectors.
  2. Compile a comprehensive and current handbook of all policies and practices designed to
     assist inspectors in carrying out their responsibilities.
  3. Clarify the criteria for what constitutes unannounced inspections. Review and clarify the
     current policies under which unannounced inspections can be performed, including the
     USCG MARSEC restrictions, and special notification arrangements with certain
     companies, so that unannounced inspections can be conducted to the greatest extent
     practicable.
  4. Identify critical operations conducted on all BOEMRE regulated facilities, and require
     that operators notify the agency about the timing of these operations so that inspectors
     can view operations first hand to the greatest extent practicable.
  5. Evaluate the advantages of conducting inspections in two-person teams instead of
     individually.
  6. Analyze the benefits of obtaining electronic access to real-time data transmitted from
     offshore platforms/drilling rigs, such as operators’ surveillance cameras, blow-out
     preventer monitoring systems, and/or other automated control and monitoring systems, to
     provide BOEMRE with additional oversight tools.
  7. Examine the viability of performing multi-day inspections of critical operations on rigs
     and platforms.
  8. Evaluate the advantages of rotating inspectors among districts and regions.




                                              10
     Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 13 of 39




B.      Inspections: Training and Professional Development

Background

BOEMRE does not have a formal training and certification program for its inspectors. Further,
BOEMRE’s policy and organizational structure leave little opportunity for higher education
opportunities and career advancement for inspectors.

New BOEMRE inspectors are inducted into the inspection program through on-the-job training
provided by more experienced inspectors. The amount of time and the structure of this training
vary from office to office and from inspector to inspector. While hands-on experience is
important, it does not address the need for substantive, consistent training in all aspects of the
job, including regulations, standards, policies, technical updates and other information. In
addition, there is no formal process for testing and certification; an inspector is allowed to work
on his own based on office policy and/or the recommendation of the training inspector. Since
BOEMRE has no formal training, testing, and certification process, the agency tends to look for
new inspectors who already have experience, usually through prior work in the oil and gas
industry.

Analysis/Discussion

        Almost half of the inspectors surveyed do not believe that they have received sufficient
        training.
        BOEMRE does not have an oil and gas inspection certification program. By contrast, the
        Bureau of Land Management (BLM) has a certification program that combines classroom
        instruction and on-the-job experience. A formal technical review (an exam) is required
        of each inspector in order to be certified. The program takes over one year to complete.
        BOEMRE does not provide formal training specific to the inspections process, and
        training does not keep up with changing technology. Some inspectors noted that they
        rely on industry representatives to explain the technology at a facility.
        Inspectors do not receive Student Loan Repayment Program benefits. Participation in
        this program could provide inspectors an incentive to obtain higher education and
        improve their skill sets, as well as increase their opportunities for promotion.
        Inspectors do not receive a salary differential for their work under hazardous conditions,
        although their jobs include exposure to conditions that could be considered hazardous.
        Previously, inspectors specialized in drilling or production facilities and were assigned
        accordingly, and the district offices had supervisory and lead inspectors in each
        discipline. For the past 15 years, however, the bureau’s emphasis has been to cross-train
        inspectors on all inspection disciplines. Many inspectors said that receiving training in
        all inspection disciplines was beneficial and provided back-up within field offices, but
        that having experts in each of the various types of inspections was practical and efficient,
        and led to more effective inspections.
        Discussions with inspectors indicate that inspectors who identify their own training needs
        often are denied that training. To the extent training is provided, it is not always deemed
        particularly valuable, such as training offered on complex equipment that is geared to
        engineers, rather than to inspectors.

                                                 11
  Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 14 of 39




     BOEMRE does not have a formal program for recruiting and retaining the most qualified
     inspectors, nor is there a well-defined career ladder for inspectors. Currently, full
     performance for an inspector is at the GS-11 grade within a district office. GOM district
     offices have one lead and one supervisory inspector each, with performance grades of
     GS-12 and GS-13, respectively. There is no promotion potential above the district office
     for inspectors, nor are there opportunities to cross-train and move into related positions at
     higher grades or levels of the organization.

Recommendations

  1. Implement a bureau-wide certification or accreditation program for inspectors. Consider
     partnering with BLM and its National Training Center to establish a DOI oil and gas
     inspection certification program, with training modules appropriate to the offshore
     environment as needed.
  2. Develop a standardized training program similar to other Interior bureaus to ensure that
     inspectors are knowledgeable in all pertinent regulations, policies, and procedures.
     Ensure that annual training keeps inspectors up-to-date on new technology, policies, and
     procedures.
  3. Develop Individual Development Plans for inspectors designed to achieve career
     advancement strategies. Such strategies should promote sound succession planning and
     foster employee development and satisfaction.
  4. Expand, to the greatest extent practicable, the sources from which BOEMRE draws
     inspector applicants, and identify incentives to recruit and retain inspectors. Reevaluate
     whether inspectors can participate in the Student Loan Repayment Program and are
     eligible for hazard pay.
  5. Consider developing more subject matter experts in each of the various types of
     inspections within district offices.




                                              12
      Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 15 of 39




C.         Inspections: Personnel and Resources

Background

Over the years, as BOEMRE downsized and industry activity increased, BOEMRE was left
vulnerable to staffing issues. According to a 2007 management report submitted to MMS by
management consultant LMI: ―Since 1982, OCS leasing has increased by 200% and oil
production has increased by 185%. Despite the recent and projected increase in leasing activities
and oil and natural gas production, [minerals management] staffing resources have decreased by
36% since 1983.‖10

A robust inspection program needs to be sufficiently staffed and possess the tools necessary to
do the job effectively. Wide disparities exist between the Pacific and the GOM regions, with the
Pacific more fully staffed and equipped. However, interviews with Pacific inspections staff also
revealed staff concerns regarding a perceived emphasis on the quantity, rather than quality, of
inspections.

The Outer Continental Shelf Lands Act (OCSLA) requires annual scheduled inspections and
periodic unannounced inspections of OCS oil and gas operations. In 2009, there were 97
operators producing oil and 106 operators producing gas in the GOM, and 6 operators producing
oil and gas in the Pacific. In the GOM there are about 3,000 facilities. In addition to its own
legal mandates, BOEMRE conducts inspections for the EPA on air quality and point-source
discharges, for the USCG on safety, and for the Department of Transportation on pipelines—all
without reimbursement.

Analysis/Discussion

           The Pacific Region employs 5 inspectors to inspect 23 production facilities—a ratio of 1
           inspector for every 5 facilities. By contrast, the GOM employs 55 inspectors to inspect
           about 3,000 facilities—a ratio of 1 inspector for every 54 facilities.
           Inspectors also have collateral duties, such as conducting accident investigations, but
           sometimes lack the necessary experience, training, or time to fulfill these duties in
           addition to their inspection responsibilities.
           A substantial amount of on-site inspection time is used for conducting reviews of
           operator reports to ensure the operator has conducted and documented the required safety
           tests. Some production inspections may require up to 34 report reviews. Some operators
           are providing access to these reports online, which enables the inspectors to conduct their
           inspection work more efficiently.
           Pacific Region inspectors have laptop computers for easy access to regulations and
           standards, inspection forms, and the ability to enter and track data while in the field.
           GOM inspectors do not have this capacity.
           Many of the inspectors who were interviewed stated that the information system used to
           track inspection and enforcement data (Technical Information Management System


10
     Offshore Minerals Management Business Assessment and Alignment Report (May 2007).

                                                           13
   Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 16 of 39




       (TIMS)) is not user friendly and requires manual processes. They further stated that the
       information is sometimes difficult to access, and some of the data are unreliable.

Recommendations

   1. BOEMRE should undertake a comprehensive workforce and workload analysis of the
      inspection program, including succession planning, anticipated workload needs, and
      increased capacity, and implement appropriate recommendations.
   2. Analyze ways to perform inspection activities more efficiently by using current
      technological tools, such as online review of reports and records and by using mobile
      technology in the field.
   3. IT systems should be considered within the context of the BOEMRE reorganization.
      Specifically, BOEMRE should examine whether TIMS can be upgraded to meet business
      requirements and address user performance concerns by leveraging more current, web-
      based, user-friendly technologies together with existing tools already within the
      Department. BOEMRE should carefully consider factors such as speed, performance
      requirements, and cost-effectiveness.

Note: Recommendations that would reduce or eliminate inspectors’ roles in post-accident
investigations are addressed in the ―Post-Accident Investigations‖ section.




                                               14
     Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 17 of 39




D.      Inspections: Management Support

Background

Some BOEMRE inspectors expressed concern that management did not consistently provide the
strong leadership and support necessary to do their jobs effectively. Inspectors also expressed a
need for clearer rules of engagement, particularly with regard to pressure exerted on them by
industry in the field.

Analysis/Discussion

        Most inspectors interviewed stated that industry often exerted pressure on them to
        minimize reporting violations during inspections. For example, personnel on a facility
        may make comments such as ―there goes my bonus,‖ or ―my wife is sick and I’ll lose my
        job.‖ Inspectors also reported that if they issued INCs, operators would sometimes call
        BOEMRE managers and complain about inspector behavior. For example, one inspector,
        new to the job, reported that on his first day on a platform he issued several INCs, and the
        company called to complain about his ―rude and unprofessional behavior‖ before he
        returned to the office.
        During interviews, inspectors expressed the need for more effective leadership in daily
        operations and for greater management support when faced with pressure from industry.
        For example, 42% of inspectors surveyed believe that headquarters management does not
        provide sufficient direction and support, 35% surveyed felt that regional management
        does not provide sufficient support, and 33% surveyed felt that district management does
        not provide sufficient support.
        Operators that receive INCs may appeal to the District Manager to have the INC
        rescinded. A number of inspectors felt they were not sufficiently supported by their
        management and that in some cases management would give the benefit of the doubt to
        industry. Inspectors do not always have the tools necessary, such as sufficient training
        and adequate equipment (e.g., laptops), to effectively support the issuance of INCs.
        Inspectors who issue many INCs reported that they are especially subject to industry
        pressure, often without sufficient management support.
        A majority of the inspectors reported receiving ethics training. However, unique
        circumstances exist in the GOM, where many people are part of the oil and gas
        community and inspectors are likely to have worked in industry and to have family
        members in the business. For example, one inspector reported arriving at a facility to
        find that his brother, who worked for the operator elsewhere, had been flown to the
        facility to act as the compliance officer. The inspector informed the company that he
        could not conduct the inspection with his brother present. Another company
        representative worked with the inspector during that day.




                                                 15
  Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 18 of 39




Recommendations

  1. Ensure that managers and inspectors have proper training, with emphasis on the
     importance of a strong safety culture.
  2. Ensure that inspectors have appropriate technology, resources and management support
     for the issuance and defense of INCs.
  3. Develop and implement clear rules of engagement for operations that are transparent to
     all entities, including both BOEMRE and industry personnel, particularly relating to
     industry exerting pressure on inspectors.
  4. Further develop ethics rules and training that reflect the unique circumstances of working
     in the GOM, with opportunities for questions and discussions.
  5. Ensure that BOEMRE managers support and enforce established rules of engagement and
     ethics rules.




                                             16
   Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 19 of 39




IV.     Enforcement: Financial Penalties and Incentives for Safety Compliance

Issue

The current level of civil penalty fines and incentives, as well as the processing time afforded, do
not make them an effective deterrent to violations of OCS regulations.

Background

To enforce compliance with BOEMRE’s regulatory requirements for safe operations in the OCS,
BOEMRE is authorized to issue INCs and assess civil penalties. The three types of enforcement
actions for INCs are: 1) warnings; 2) component shut-ins; and 3) facility shut-ins. Warnings are
issued for infractions that pose no immediate danger to personnel or equipment (such as failure
to properly maintain certain records), and require the operator to report to BOEMRE the plan for
corrective action, or the corrective action taken, within 14 days. Component shut-ins are ordered
for malfunctioning equipment that poses an immediate danger to personnel or other equipment
without affecting the overall safety of the facility. Facility shut-ins are ordered when
malfunctioning equipment cannot be shut in without affecting the overall safety of the facility.
Both component shut-ins and facility shut-ins are effective immediately, and remain in effect
until the operator reports that the violations have been corrected and BOEMRE personnel
authorize the return to operation.

Civil penalties may be assessed for violations that: cause injury, death or environmental damage;
pose a threat to human life or the environment; or are not corrected after notice and expiration of
a specified period. Violations for certain malfunctioning safety devices are automatically
referred by the inspector for a civil penalty; other violations may be referred by the inspector or
reviewing supervisor. As required by statute, BOEMRE reviews the cap on civil penalty fines
for proposed adjustment at least every three years, and must adjust the cap based on increases in
the consumer price index. After the most recent review, which took place in 2009, civil penalty
levels remained unchanged. Civil penalties are presently capped at $35,000 per violation per
day.

Analysis/Discussion

        Inspectors can cite offshore oil and gas operators for over 800 types of infractions or
        Potential Incidents of Noncompliance (PINC). INC violations do not have fines
        associated with them unless they qualify for and are processed as civil penalties.
        A successful civil penalty charge occurs only after a BOEMRE district office gathers
        documentation, for which up to 60 days are allowed, then determines whether to move
        forward, for which up to another 60 days are allowed. BOEMRE allows up to another 90
        days for the regional reviewing officer to consider the charges. It then gives the company
        notification, which results in payment or a scheduled meeting within 30 days. Following
        the meeting, BOEMRE reviews any additional information provided by the company
        then makes a final decision. Once this occurs, the company then has up to 60 days to pay
        or to appeal. Overall, the process may take almost one year, which may be extended
        should the company appeal.

                                                 17
Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 20 of 39




   In an environment where many operators pay between $500,000 and $1 million daily to
   run a facility, 41% of BOEMRE employees who responded to the survey do not believe
   that a potential fine of no more than $35,000 per violation per day is an effective tool to
   deter violations.
   In 2009, out of the 2,298 INCs issued, only 87 were referred to the civil penalty process.
   Also in 2009, BOEMRE collected a total of $919,000 in civil penalties, an amount that is
   comparable to the cost of only a one-day shut-in for a larger facility.
   The civil penalty fines may not appropriately reflect the severity of the violations. One
   inspector noted that a company received an $800,000 fine for an infraction where the
   threat of serious harm had extended over multiple days. On the other hand, if a death
   were to occur in a single day event, it would warrant penalties of no more than $35,000
   per violation, demonstrating the inequities of the current civil penalty fine matrix.
   Currently, shut-ins are often the most effective tool available to reduce violations because
   lost operating costs may be significantly greater than the maximum civil penalty amount.
   Out of the 2,298 INCs issued in the GOM in 2009, a total of 121 facility shut-ins
   occurred. Further analysis would be necessary to determine whether additional shut-ins
   may have been appropriate.
   BOEMRE employees reported that some operators regarded the issuance of an INC as an
   effective tool to alter behavior, given that INCs blemish a company’s overall operations
   record. INCs also have the potential to affect insurance levels for operator activity and
   the public’s perception of a company’s operations.
   Financial penalties for noncompliance are used as an enforcement tool by FAA, OSHA,
   MSHA, and NRC. FAA is willing to waive penalties in some cases for self-disclosure of
   problems. Financial penalties are typically supplemented with requirements for liability
   insurance or other financial guarantees which also provide an incentive for entities to
   operate in a safe manner because the cost of the insurance may be related to safety
   practices.
   Industry employees have limited whistleblower protection for disclosing safety
   violations.
   Of the 2,298 INCs issued in 2009, only 50 follow-up inspections were conducted to
   ensure compliance. Further analysis would be necessary to determine the number of
   INCs evaluated in those follow-up inspections.
   Although some INCs are corrected at the time of the inspection, 48% of the INCs issued
   did not have a correction date identified in BOEMRE’s tracking system.
   When an INC is issued, a copy is returned to BOEMRE once the violation is corrected.
   For a facility or component shut-in, the operator must notify the issuing BOEMRE office
   before returning to operation. Some operators send in additional information, although
   there is no requirement to do so. To return a component or facility to service, the
   operator must contact the Supervisory Inspector or the District Manager. If neither is
   available, any of the engineering staff can act on behalf of the District Manager to grant
   approval. During interviews of BOEMRE personnel, one inspector noted that some
   operators will call BOEMRE offices multiple times until they reach someone at the
   agency who is willing to grant the operator permission to bring the component online.




                                            18
  Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 21 of 39




Recommendations

  1. Reevaluate the full range of enforcement actions, including INCs, civil penalties, and
     lease suspensions and cancellations to determine whether the enforcement actions deter
     violations. For example, BOEMRE should consider sanctions for repeat offenders,
     including those who repeatedly engage in violations that do not trigger civil penalties
     under the current standards.
  2. Consider evaluating INCs to determine which, if any, may be appropriate for an
     automatic assessment of a fine and how much the fine should be. BOEMRE’s evaluation
     could be informed by a review of the penalty structure of other regulatory agencies.
  3. Review the civil penalty process to determine whether a civil penalty case can be
     completed effectively in less than the nearly one-year time period now afforded to assess
     a civil penalty.
  4. Evaluate the rates and the structure of the civil penalty program and, if necessary, initiate
     the legislative or rulemaking process to ensure that penalties are appropriately tied to the
     severity of the violation.
  5. Evaluate the use of facility shut-in authority to ensure its appropriate and effective
     utilization.
  6. Develop a transparent process and public notification policy for workplace safety
     incidents, offshore oil spill incidents, corrective actions, and proceedings related to INCs.
  7. Require on-site follow-up inspections, or other forms of evidence, to document that
     operators have made the required corrections to INCs.
  8. Improve the INC documenting and tracking system so the status and resolution of INCs
     are fully documented, properly tracked and corrected.
  9. Consider updating the INC form and other operational reporting documents to require
     operators to certify under penalty of perjury that all information submitted to the agency
     is accurate.
  10. Consider reevaluating and making appropriate recommendations regarding: financial
      guarantees required from operators in case of catastrophic spills; linking the required
      level of financial guarantee to risk, past safety performance, and potential natural
      resource and economic damages.
  11. Consider developing a voluntary self-disclosure policy as an incentive for companies that
      notify BOEMRE of safety concerns.
  12. Consider working with Congress to establish whistleblower protections specifically for
      individuals employed in private sector oil and gas companies who disclose safety and
      environmental violations.
  13. Consider changing the approval process for returning a facility or component to operation
      by limiting who has approval authority; creating a system for tracking approvals and
      disapprovals; and ensuring that all staff who have approval authority have access to and
      properly use the tracking system.


                                               19
      Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 22 of 39




V.         Environment: Environmental and Cultural Resources Protection

Issue

An apparent emphasis on lease sales and permitting may create an imbalance in how BOEMRE
fulfills its dual mandate to responsibly develop OCS resources while protecting the environment
and cultural resources.

Background

OCSLA provides that ―the outer Continental Shelf is a vital natural resource reserve held by the
Federal Government for the public, which should be made available for expeditious and orderly
development, subject to environmental safeguards, in a manner which is consistent with the
maintenance of competition and other national needs.‖11 BOEMRE environmental and socio-
cultural specialists review and assess environmental impacts of oil and gas drilling and develop
recommendations to keep resources safe and mitigate damages. Operators submit plans to the
Office of Field Operations (OFO). After determining that the documents on the checklist are
present, the plan coordinator will submit the plans to the appropriate BOEMRE section or office.

Analysis/Discussion

           Some environmental staff reported that OFO and leasing coordinators and managers have
           described the analysis and recommendations prepared by the environmental staff as too
           burdensome for industry to implement, thus causing unnecessary delays for operators.
           Some environmental staff also reported that environmental assessments for smaller
           operators may be minimized if the OFO manager determines that implementing the
           recommendation may be too costly.
           Some environmental staff members noted that several BOEMRE managers have changed
           or minimized the scientists’ potential environmental impact findings in National
           Environmental Policy Act (NEPA) documents to expedite plan approvals. Several
           individuals stated that their managers believed the result of NEPA evaluations should
           always be a ―green light‖ to proceed.
           Employee performance plans and monetary awards are reported, in some cases, to be
           based on meeting deadlines for leasing or development approvals—financial incentives
           that could distort balanced decision-making.




11
     Outer Continental Shelf Lands Act, 43 U.S.C. § 1331(3).


                                                          20
  Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 23 of 39




Recommendations

  1. In future institutional structures implemented through the ongoing BOEMRE
     reorganization, separate the management of environmental functions from those of
     leasing and development to ensure that environmental concerns are given appropriate
     weight and consideration.
  2. Consider creating a review panel within BOEMRE to resolve issues that arise during
     environmental and socio-cultural reviews.
  3. Explore and encourage other processes, policies and incentives that promote a culture of
     balanced stewardship and evaluate existing policies and practices that may impede the
     ability to achieve this balance.




                                             21
      Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 24 of 39




VI.        Post-Accident Investigations

Issue

BOEMRE’s accident investigation program lacks adequate protocol for basic investigation
techniques; sufficient full-time accident investigation personnel; a well defined management
chain staffed with experienced leadership at the highest levels; and an effective system for
ensuring that safety and other recommendations resulting from accident investigations are
implemented. In addition, accident reports submitted by operators often lack sufficient detail to
allow meaningful analysis by investigators.

Background

Under the current BOEMRE manual governing accident investigations, BOEMRE conducts two
types of investigations: (a) ―District‖ investigations conducted by a team appointed by the
District Manager; and (b) ―Panel‖ investigations conducted by a team appointed by the Regional
Director. According to the manual, panel investigations are usually conducted when a ―more in-
depth investigation is needed and may involve more comprehensive investigation techniques
such as formal hearings.‖12 Supplemental guidelines were issued in 2009, and an Accident
Investigation Handbook was issued in March 2010. While the Handbook provides more detailed
guidance, it does not significantly change the basic protocol or management responsibilities
outlined in the existing manual.

Investigation responsibilities for all managers and appointed investigators under BOEMRE’s
accident investigation program are typically collateral duties. In the GOM regional office, there
are two full time accident investigators whose primary responsibilities are panel investigations.
Accidents are reported to a district office, which makes the initial decision on whether to refer
operator reported incidents to the regional office. The primary responsibility for initiating and
managing those investigations (i.e., panel investigations) lies with the Regional Director, whose
authority includes determining which accidents are investigated and how the investigation will
be conducted. Absent from this decision making process is any required input, guidance, or
direction from headquarters on what accidents should receive a higher level review.

BOEMRE’s accident investigation manual does not provide special procedures for conducting
catastrophic or serious accident investigations, and does not contain adequate protocol for
conducting basic investigative and evidence gathering activities.

BOEMRE regulations require self-reporting by operators of certain enumerated incidents to
BOEMRE District Managers, such as fatalities, certain injuries, fires and explosions, gas
releases, and losses of well control. Investigations may be initiated by evaluating the
significance of accident details, usually based on the information reported by operators.
Investigation reports are made publicly available and contain recommendations that could
address changes to BOEMRE policies, procedures, or regulations, and can also result in the
issuance of industry safety alerts. Safety alerts notify industry operators of accident causes and
recommend preventive measures.
12
     BOEMRE Service Manual, Part 640, Chapter 3.

                                                   22
   Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 25 of 39




For comparison, we examined the post-accident investigation protocol of the NRC, FAA, OSHA,
MSHA, and the NTSB, which revealed that, like BOEMRE, these agencies have authority to
mount post-accident investigations under their jurisdiction. However, these agencies also have
specific guidelines for investigative protocol and evidence gathering activities. The extent to
which these investigations are conducted by independent entities varies. The NTSB is an
example of a free-standing organization with the sole mission of independently investigating
accidents.

Analysis and Discussion

       According to the manual governing BOEMRE’s accident investigation program, accident
       investigations are typically conducted as a collateral duty by managers and appointed
       investigators and are managed at the district and regional levels. As a result, inspectors
       sometimes lack the necessary experience, training, and time to perform adequate
       investigations. For the most serious accidents, Regional Directors have broad discretion
       in determining which accidents warrant investigations and how those investigations will
       be conducted.
       Because BOEMRE’s investigation manual does not contain adequate standardized
       protocol for conducting basic investigative and evidence gathering activities, the conduct
       of investigations lacks consistency and may be inadequate for investigating serious or
       catastrophic accidents.
       According to BOEMRE’s reorganization plan, accountability for accident investigations
       at the headquarters level is contemplated under a new Investigations Review Unit.
       Operator incident reporting is sometimes insufficient to determine if an accident
       investigation is necessary. For example, operators are not required to provide site
       photographs and descriptions of the probable cause of the accident.
       BOEMRE lacks an independence policy for accident investigators to ensure there are no
       conflicts of interest with industry.
       BOEMRE lacks an independent peer review option for panel investigations. For
       example, the NTSB, which investigates aviation accidents and involving other
       transportation modes, utilized the Sandia National Laboratories to Peer Review NTSB’s
       analysis of the I-35 Bridge Collapse (SAND2008-6206).
       BOEMRE has no system of accountability to verify if internal recommendations or safety
       alerts have been implemented or to track the progress of implementation. BOEMRE
       internal recommendations are not always implemented.




                                               23
  Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 26 of 39




Recommendations

  1. Consider restructuring the accident investigation program to dedicate additional full-time
     staff with appropriate training in accident investigations. Establish a supervisory chain,
     with investigative expertise, that includes responsibility and accountability in BOEMRE
     headquarters for the overall management of the accident investigations program.
  2. Require operators to provide detailed descriptions of certain types of accidents (e.g., gas
     releases), to determine whether accident investigations or other corrective actions are
     necessary.
  3. Develop and implement internal procedures to fully conduct and document accident
     investigations, including basic investigation and evidence gathering protocol.
  4. To supplement existing ethics requirements and recusal policy, create an independence
     policy for all accident investigation personnel that includes certifications signed by
     investigation personnel, prior to commencing work on a particular investigation,
     affirming the absence of any conflicts of interest.
  5. Explore the utility of an independent peer review process for panel investigations.
  6. Establish a system to track investigation recommendations and verify that they have been
     considered and implemented, as appropriate, and documented accordingly.




                                              24
     Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 27 of 39




VII.    Environmental Stewardship: Regulatory Framework, OSRP Review, OSRP
        Content

Issue

BOEMRE must serve a pivotal role in fostering a new culture of safety and environmental
stewardship where the importance of protecting human life and the environment is woven into
the process for developing and implementing its regulations. One challenge facing BOEMRE is
that promulgating regulations may lag behind the development of new and emerging offshore
technologies. In addition, BOEMRE’s review of Oil Spill Response Plans (OSRP) does not
ensure that critical data are correct or that other relevant agencies are involved in the review
process. Also, OSRPs do not adequately address the calculation for worst-case discharge
scenarios and fail to include measures for containing and controlling hydrocarbon discharges.

A.      Environmental Stewardship: Regulatory Framework

Background

Proposals for new regulations or modifications to current regulations for emerging technologies
are generally driven by regional or district personnel based on activities observed in the field and
by research conducted by BOEMRE’s Technology Assessment & Research (TA&R) program.
The TA&R program was established to ensure that industry operations on the OCS incorporate
the use of Best Available and Safest Technologies (BAST). It supports research for operational
safety, pollution prevention and oil spill response. Although studies conducted through the
TA&R program are readily available online for review, BOEMRE does not provide a summary
of actions taken as a result of the recommendations from each study. While BOEMRE has
implemented the recommendations from some of the studies, there is no current mechanism for
tracking outputs resulting from studies.

BOEMRE personnel raise regulatory needs to the national office, where concept papers are
developed for senior management review and approval. Once the concept is approved,
regulations are drafted through collaboration between BOEMRE national and regional subject
matter experts. They are reviewed and approved by regional and national management before
initiation of the formal rulemaking publication process.

Analysis and Discussion

        Regulations that specifically address deepwater activities exist, but are scattered
        throughout BOEMRE regulation subparts and are not comprehensive, resulting in gaps
        and inconsistencies in interpretation.
        Apart from the rulemaking process, the other means available to clarify the use of
        emerging technologies are NTLs, safety alerts, approvals for alternative technologies or
        procedures, and departures. Questions have been raised in interviews and otherwise as to
        the use of NTLs and safety alerts and whether new regulations would be more suitable.


                                                 25
  Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 28 of 39




     Regulations typically take years to promulgate. For example, BOEMRE has a proposed
     rule change to incorporate a Safety and Environmental Management System (SEMS)
     Regulation that has been under consideration by BOEMRE for many years. The SEMS
     Rule is now under active consideration for publication this year.
     Because BOEMRE permitting employees conduct reviews of industry requests for use of
     new technology or standards under the regulations governing ―alternative procedures or
     equipment‖ and ―departures‖ (30 CFR §§ 250.141 and 142, respectively), the protracted
     timeframes for promulgating regulations that address emerging technologies has
     significant implications for the permitting process.
     BOEMRE may not have sufficient staff with the requisite expertise to review and vet
     standards that have been developed by industry group subject matter experts, such as the
     American Petroleum Institute (API), to determine the extent to which those standards
     should be used in developing regulations. BOEMRE references less than 80 of the
     approximately 240 API standards related to exploration and development in its current
     regulations.
     It is unclear the extent to which recommendations from TA&R studies result in new or
     updated regulations because BOEMRE does not have an established mechanism to track
     implementation of these recommendations.
     BOEMRE and API have conducted limited research to review the effects of deep water
     on equipment and operations. With the exception of requirements for drilling and
     platform design in varying depths, BOEMRE regulations do not distinguish between
     operations in deep water and shallow water. Studies related to the effect of water depth
     on equipment and operations provide conflicting viewpoints that are inconclusive.

Recommendations

  1. Develop a dynamic regulatory framework that promotes efficiency in the development
     and promulgation of regulations; provides for interim and continuing guidance to
     operators; provides clear guidance and ensures the appropriate use of NTLs and safety
     alerts; addresses gaps, inconsistencies, comprehensiveness and organization within
     BOEMRE regulations; and facilitates working with other agencies to reconcile related
     regulations.
  2. Ensure that BOEMRE has sufficient staff with the expertise needed to review and vet
     standards developed by industry group subject matter experts to determine the extent to
     which those standards should be used in developing regulations.
  3. Identify actionable items from the TA&R studies, track concurrence and implementation
     of those items, document rejected recommendations, and consider broader opportunities
     for the TA&R program.
  4. Consulting with technical experts, conduct further analysis of the effects of water depth
     on equipment and operations, and determine the adequacy of current regulations.




                                              26
     Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 29 of 39




B.      Environmental Stewardship: OSRP Review

Background

After initial submission and approval, OSRPs are reviewed every two years. OSRPs are lengthy
documents, many exceeding 500 pages. Many details within the OSRPs may not be reviewed to
verify that important information is correct. For example, BOEMRE’s review process was
described by some oil spill coordinators as being designed to check for the inclusion of required
sections rather than to verify the accuracy of information in those sections. Further, it appears
that BOEMRE does not regularly verify the calculation for worst-case discharge scenarios. This
calculation is a driver for the response requirements for the plan. BOEMRE reviews
approximately 170 federal OSRPs in the GOM Region and 11 OSRPs in the Pacific Region
(consisting of six federal plans and five state plans under an MOU with the State of California).

Analysis/Discussion

        GOM Regional oil spill coordinators conduct minimal reviews and analyses of OSRPs,
        leaving worst-case discharge calculations and contact information unverified, among
        other things.
        GOM reviewing officials may not have the qualifications necessary to conduct a proper
        review of OSRPs.
        BOEMRE is responsible for reviewing OSRPs, while the USCG is responsible for the
        execution of the plans. USCG officials often do not review OSRPs and are not notified
        when new OSRPs come in for review. EPA is not involved in the OSRP review process.
        There is a current Memorandum of Agreement between BOEMRE and the USCG that
        establishes jurisdiction and clarifies responsibilities between BOEMRE and USCG
        regarding oil discharge planning, preparedness, and response.
        OSRPs require that facilities be classified with a worst-case discharge volume rating.
        Worst-case discharges, however, are often not classified and rated as required.
        Inspectors do not verify the availability and presence of third-party equipment listed in
        the OSRP prior to conducting equipment inspections.

Recommendations

     1. Draft a new Memorandum of Agreement with the USCG, EPA, and other interested
        agencies, requiring appropriate participation of all parties in the review of OSRPs, and
        any related drills or exercises.
     2. Develop a review process for OSRPs that incorporates risk-based and other strategies to
        ensure that all critical information and spill scenarios are included in the OSRP by
        operators, and are comprehensively reviewed and verified by BOEMRE and/or other
        appropriate officials.
     3. Determine and ensure technical expertise necessary for staff to conduct comprehensive
        reviews of OSRPs.
     4. Ensure that inspectors verify the availability and presence of all equipment, including
        third-party equipment, listed in OSRPs prior to conducting inspections.

                                                 27
     Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 30 of 39




C.      Environmental Stewardship: OSRP Content

Background

According to BOEMRE staff assigned to the Oil Spill program, containing and controlling the
source of the spill is not the emphasis of the OSRP. In their view, plans are instead based
largely on recovering oil from the spill. Thus, recovering oil from a worst-case discharge
scenario is a major driver for the plan’s response requirements. Currently, the regulatory
formula for calculation of the worst-case discharge scenario anticipates a spill flow of no more
than 30 days. According to BOEMRE staff, given the duration of flow from the Deepwater
Horizon accident, the worst-case discharge calculation is currently being reconsidered.

Analysis and Discussion

        As directed in 30 CFR § 254.47, a worst-case discharge is calculated for a period of only
        30 days.
        OSRPs are designed to deal with surface oil cleanup, not containment and control of
        wells at the spill’s source.
        There may be other areas within BOEMRE’s oil development process, such as
        exploratory permitting, that provide more detail on the containment and control of spills.

Recommendations

     1. Develop policies and procedures to require detailed descriptions of containment and
        control measures for the source of possible spills and determine where to incorporate
        these measures, either in the OSRP or elsewhere in the permitting process.
     2. Review calculations for worst-case discharges, with input from the United States
        Geological Survey, and make recommendations for changes to 30 CFR § 254.47 as
        appropriate.
     3. Conduct additional research on containment and control measures to determine
        appropriate requirements for containing oil discharge at the source.




                                                28
     Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 31 of 39




                     APPENDIX: SUMMARY OF RECOMMENDATIONS

Permitting: Resources and Protocol for Permit Review

Issue: Gulf of Mexico (GOM) district offices are challenged by the volume and complexity of
permit applications and the lack of a standardized engineering review protocol. In addition, the
Pacific Region’s permitting staff is facing significant succession issues.

Recommendations

     1. Review permit staffing needs in the GOM district and regional offices to ensure that
        staffing levels are commensurate with increasing workloads.
     2. Develop a succession plan for BOEMRE staff in all regions.
     3. Develop a comprehensive and current handbook to compile and standardize policies and
        practices designed to assist permit reviewers in carrying out their responsibilities.
     4. Review and revise the permit review protocols to ensure that: (a) permit requests from
        operators and district responses are documented promptly and properly; (b) BOEMRE
        engineers have appropriate access to permit databases after hours; and (c) procedures are
        established that prevent ―engineer shopping‖ by operators.
     5. Reexamine after-hours permit review services; the means by which any such services
        should be provided (e.g., on-call or in-office staffing); and the feasibility of limiting its
        use by requiring operators to submit non-emergency requests and requests that could be
        reasonably anticipated during normal business hours.


Inspections: Program Structure, Training, Personnel and Resources, Management Support

Issue: Inspectors are an important line of defense for promoting safety and environmental
protection in offshore oil and gas development. Currently, however, certain challenges affect the
overall effectiveness of the inspection program. Specifically, inspectors (a) are part of a program
structure that is ineffective in facilitating the elevation of issues or concerns up the management
chain; (b) begin and continue their jobs with no standardized training, testing, or certification; (c)
operate with minimal resources; and (d) sometimes operate without strong management support.

A.      Inspections: Program Structure and Effectiveness

Recommendations

     1. Develop an inspection program with strong representation at all levels of the agency.
        The program should facilitate good intra-agency communication in order to promote
        consistency, effectiveness, and efficiency and provide strong support to the front-line
        inspectors.


                                                   29
     Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 32 of 39




     2. Compile a comprehensive and current handbook of all policies and practices designed to
        assist inspectors in carrying out their responsibilities.
     3. Clarify the criteria for what constitutes unannounced inspections. Review and clarify the
        current policies under which unannounced inspections can be performed, including the
        USCG MARSEC restrictions, and special notification arrangements with certain
        companies, so that unannounced inspections can be conducted to the greatest extent
        practicable.
     4. Identify critical operations conducted on all BOEMRE regulated facilities, and require
        that operators notify the agency about the timing of these operations so that inspectors
        can view operations first hand to the greatest extent practicable.
     5. Evaluate the advantages of conducting inspections in two-person teams instead of
        individually.
     6. Analyze the benefits of obtaining electronic access to real-time data transmitted from
        offshore platforms/drilling rigs, such as operators’ surveillance cameras, blow-out
        preventer monitoring systems, and/or other automated control and monitoring systems, to
        provide BOEMRE with additional oversight tools.
     7. Examine the viability of performing multi-day inspections of critical operations on rigs
        and platforms.
     8. Evaluate the advantages of rotating inspectors among districts and regions.

B.      Inspections: Training and Professional Development

Recommendations

     1. Implement a bureau-wide certification or accreditation program for inspectors. Consider
        partnering with BLM and its National Training Center to establish a DOI oil and gas
        inspection certification program, with training modules appropriate to the offshore
        environment as needed.
     2. Develop a standardized training program similar to other Interior bureaus to ensure that
        inspectors are knowledgeable in all pertinent regulations, policies, and procedures.
        Ensure that annual training keeps inspectors up-to-date on new technology, policies, and
        procedures.
     3. Develop Individual Development Plans for inspectors designed to achieve career
        advancement strategies. Such strategies should promote sound succession planning and
        foster employee development and satisfaction.
     4. Expand, to the greatest extent practicable, the sources from which BOEMRE draws
        inspector applicants, and identify incentives to recruit and retain inspectors. Reevaluate
        whether inspectors can participate in the Student Loan Repayment Program and are
        eligible for hazard pay.
     5. Consider developing more subject matter experts in each of the various types of
        inspections within district offices.


                                                 30
     Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 33 of 39




C.      Inspections: Personnel and Resources

Recommendations

     1. BOEMRE should undertake a comprehensive workforce and workload analysis of the
        inspection program, including succession planning, anticipated workload needs, and
        increased capacity, and implement appropriate recommendations.
     2. Analyze ways to perform inspection activities more efficiently by using current
        technological tools, such as online review of reports and records and by using mobile
        technology in the field.
     3. IT systems should be considered within the context of the BOEMRE reorganization.
        Specifically, BOEMRE should examine whether TIMS can be upgraded to meet business
        requirements and address user performance concerns by leveraging more current, web-
        based, user-friendly technologies together with existing tools already within the
        Department. BOEMRE should carefully consider factors such as speed, performance
        requirements, and cost-effectiveness.


D.      Inspections: Management Support

Recommendations

     1. Ensure that managers and inspectors have proper training, with emphasis on the
        importance of a strong safety culture.
     2. Ensure that inspectors have appropriate technology, resources and management support
        for the issuance and defense of INCs.
     3. Develop and implement clear rules of engagement for operations that are transparent to
        all entities, including both BOEMRE and industry personnel, particularly relating to
        industry exerting pressure on inspectors.
     4. Further develop ethics rules and training that reflect the unique circumstances of working
        in the GOM, with opportunities for questions and discussions.
     5. Ensure that BOEMRE managers support and enforce established rules of engagement and
        ethics rules.




                                                31
   Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 34 of 39




Enforcement: Financial Penalties and Incentives for Safety Compliance

Issue: The current level of civil penalty fines and incentives, as well as the processing time
afforded, do not make them an effective deterrent to violations of OCS regulations.

Recommendations

   1. Reevaluate the full range of enforcement actions, including INCs, civil penalties, and
      lease suspensions and cancellations to determine whether the enforcement actions deter
      violations. For example, BOEMRE should consider sanctions for repeat offenders,
      including those who repeatedly engage in violations that do not trigger civil penalties
      under the current standards.
   2. Consider evaluating INCs to determine which, if any, may be appropriate for an
      automatic assessment of a fine and how much the fine should be. BOEMRE’s evaluation
      could be informed by a review of the penalty structure of other regulatory agencies.
   3. Review the civil penalty process to determine whether a civil penalty case can be
      completed effectively in less than the nearly one-year time period now afforded to assess
      a civil penalty.
   4. Evaluate the rates and the structure of the civil penalty program and, if necessary, initiate
      the legislative or rulemaking process to ensure that penalties are appropriately tied to the
      severity of the violation.
   5. Evaluate the use of facility shut-in authority to ensure its appropriate and effective
      utilization.
   6. Develop a transparent process and public notification policy for workplace safety
      incidents, offshore oil spill incidents, corrective actions, and proceedings related to INCs.
   7. Require on-site follow-up inspections, or other forms of evidence, to document that
      operators have made the required corrections to INCs.
   8. Improve the INC documenting and tracking system so the status and resolution of INCs
      are fully documented, properly tracked and corrected.
   9. Consider updating the INC form and other operational reporting documents to require
      operators to certify under penalty of perjury that all information submitted to the agency
      is accurate.
  10. Consider reevaluating and making appropriate recommendations regarding: financial
      guarantees required from operators in case of catastrophic spills; linking the required
      level of financial guarantee to risk, past safety performance, and potential natural
      resource and economic damages.
  11. Consider developing a voluntary self-disclosure policy as an incentive for companies that
      notify BOEMRE of safety concerns.
  12. Consider working with Congress to establish whistleblower protections specifically for
      individuals employed in private sector oil and gas companies who disclose safety and
      environmental violations.


                                                 32
   Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 35 of 39




  13. Consider changing the approval process for returning a facility or component to operation
      by limiting who has approval authority; creating a system for tracking approvals and
      disapprovals; and ensuring that all staff who have approval authority have access to and
      properly use the tracking system.

Environment: Environmental and Cultural Resources Protection

Issue: An apparent emphasis on lease sales and permitting may create an imbalance in how
BOEMRE fulfills its dual mandate to responsibly develop OCS resources while protecting the
environment and cultural resources.

Recommendations

   1. In future institutional structures implemented through the ongoing BOEMRE
      reorganization, separate the management of environmental functions from those of
      leasing and development to ensure that environmental concerns are given appropriate
      weight and consideration.
   2. Consider creating a review panel within BOEMRE to resolve issues that arise during
      environmental and socio-cultural reviews.
   3. Explore and encourage other processes, policies and incentives that promote a culture of
      balanced stewardship and evaluate existing policies and practices that may impede the
      ability to achieve this balance.


Post-Accident Investigations

Issue: BOEMRE’s accident investigation program lacks adequate protocol for basic
investigation techniques; sufficient full-time accident investigation personnel; a well defined
management chain staffed with experienced leadership at the highest levels; and an effective
system for ensuring that safety and other recommendations resulting from accident investigations
are implemented. In addition, accident reports submitted by operators often lack sufficient detail
to allow meaningful analysis by investigators.

Recommendations

   1. Consider restructuring the accident investigation program to dedicate additional full-time
      staff with appropriate training in accident investigations. Establish a supervisory chain,
      with investigative expertise, that includes responsibility and accountability in BOEMRE
      headquarters for the overall management of the accident investigations program.
   2. Require operators to provide detailed descriptions of certain types of accidents (e.g., gas
      releases), to determine whether accident investigations or other corrective actions are
      necessary.
   3. Develop and implement internal procedures to fully conduct and document accident
      investigations, including basic investigation and evidence gathering protocol.

                                               33
     Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 36 of 39




     4. To supplement existing ethics requirements and recusal policy, create an independence
        policy for all accident investigation personnel that includes certifications signed by
        investigation personnel, prior to commencing work on a particular investigation,
        affirming the absence of any conflicts of interest.
     5. Explore the utility of an independent peer review process for panel investigations.
     6. Establish a system to track investigation recommendations and verify that they have been
        considered and implemented, as appropriate, and documented accordingly.


Environmental Stewardship: Regulatory Framework, OSRP Review, OSRP Content

Issue: BOEMRE must serve a pivotal role in fostering a new culture of safety and environmental
stewardship where the importance of protecting human life and the environment is woven into
the process for developing and implementing its regulations. One challenge facing BOEMRE is
that promulgating regulations may lag behind the development of new and emerging offshore
technologies. In addition, BOEMRE’s review of Oil Spill Response Plans (OSRP) does not
ensure that critical data are correct or that other relevant agencies are involved in the review
process. Also, OSRPs do not adequately address the calculation for worst-case discharge
scenarios and fail to include measures for containing and controlling hydrocarbon discharges.

A.      Environmental Stewardship: Regulatory Framework

Recommendations

     1. Develop a dynamic regulatory framework that promotes efficiency in the development
        and promulgation of regulations; provides for interim and continuing guidance to
        operators; provides clear guidance and ensures the appropriate use of NTLs and safety
        alerts; addresses gaps, inconsistencies, comprehensiveness and organization within
        BOEMRE regulations; and facilitates working with other agencies to reconcile related
        regulations.
     2. Ensure that BOEMRE has sufficient staff with the expertise needed to review and vet
        standards developed by industry group subject matter experts to determine the extent to
        which those standards should be used in developing regulations.
     3. Identify actionable items from the TA&R studies, track concurrence and implementation
        of those items, document rejected recommendations, and consider broader opportunities
        for the TA&R program.
     4. Consulting with technical experts, conduct further analysis of the effects of water depth
        on equipment and operations, and determine the adequacy of current regulations.




                                                 34
     Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 37 of 39




B.      Environmental Stewardship: OSRP Review

Recommendations

     1. Draft a new Memorandum of Agreement with the USCG, EPA, and other interested
        agencies, requiring appropriate participation of all parties in the review of OSRPs, and
        any related drills or exercises.
     2. Develop a review process for OSRPs that incorporates risk-based and other strategies to
        ensure that all critical information and spill scenarios are included in the OSRP by
        operators, and are comprehensively reviewed and verified by BOEMRE and/or other
        appropriate officials.
     3. Determine and ensure technical expertise necessary for staff to conduct comprehensive
        reviews of OSRPs.
     4. Ensure that inspectors verify the availability and presence of all equipment, including
        third-party equipment, listed in OSRPs prior to conducting inspections.


C.      Environmental Stewardship: OSRP Content

Recommendations

     1. Develop policies and procedures to require detailed descriptions of containment and
        control measures for the source of possible spills and determine where to incorporate
        these measures, either in the OSRP or elsewhere in the permitting process.
     2. Review calculations for worst-case discharges, with input from the United States
        Geological Survey, and make recommendations for changes to 30 CFR § 254.47 as
        appropriate.
     3. Conduct additional research on containment and control measures to determine
        appropriate requirements for containing oil discharge at the source.




                                                 35
  Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 38 of 39




                               ACRONYMS

APM        APPLICATION FOR PERMIT TO MODIFY

ASLM       ASSISTANT SECRETARY, LAND AND MINERALS MANAGEMENT

ASPMB      ASSISTANT SECRETARY, POLICY, MANAGEMENT AND BUDGET

BAST       BEST AVAILABLE AND SAFEST TECHNOLOGIES

BLM        BUREAU OF LAND MANAGEMENT

BOEMRE     BUREAU OF OCEAN ENERGY MANAGEMENT, REGULATION AND
           ENFORCEMENT

FAA        FEDERAL AVIATION ADMINISTRATION

GOM        GULF OF MEXICO

INC        INCIDENT OF NONCOMPLIANCE

MARSEC     MARITIME SECURITY PLAN

MMS        MINERALS MANAGEMENT SERVICE

MSHA       MINE SAFETY AND HEALTH ADMINISTRATION

NEPA       NATIONAL ENVIRONMENTAL POLICY ACT

NRC        NUCLEAR REGULATORY COMMISSION

NTL        NOTICE TO LESSEES

NTSB       NATIONAL TRANSPORTATION SAFETY BOARD

OCS        OUTER CONTINENTAL SHELF

OCSLA      OUTER CONTINENTAL SHELF LANDS ACT

OFO        OFFICE OF FIELD OPERATIONS

OIG        OFFICE OF THE INSPECTOR GENERAL

OPM        OFFICE OF PERSONNEL MANAGEMENT

OSHA       OCCUPATIONAL SAFETY AND HEALTH ADMINISTRATION

OSRP       OIL SPILL RESPONSE PLAN
                                     36
  Case 2:10-md-02179-CJB-DPC Document 314-1 Filed 09/21/10 Page 39 of 39




PINC       POTENTIAL INCIDENT OF NONCOMPLIANCE

PPA        OFFICE OF POLICY ANALYSIS

TA&R       TECHNOLOGY ASSESSMENT AND RESEARCH

TIMS       TECHNICAL INFORMATION MANAGEMENT SYSTEM

USCG       UNITED STATES COAST GUARD




                                    37
